                                        Bitcoin Services Agreement

     This Bitcoin Services Agreement ("Agreement") is entered into as of the last signature below by
     and between CLI Holdings Inc., with its principal place of business at 71 Columbia St, Suite 300,
    | Seattle, WA 98104 ("CoinLab") and Barry Silbert with its principal place of
      business or residence at ? ("Customer"). For good and valuable
      consideration the partia/agree to the terms and conditions of this Agreement.

         1.             D e fi n i t i o n s .           ^              '

                 a. "Bitcoin" means the same-named, de-centralized, digital artifacts regulated by
                     peer-to-peer networks and earned through an exchange for especially valuable
                     numbers acquired through computing power and verified by nodes on the peer-
                     to-peer network.

                 b. "CoinLab Storage" means the online storage system developed and hosted by
                     or for CoinLab.

                 c. "Confidential Information" means non-public information, technical data or
                     know-how of a party and/or its affiliates, which is furnished to the other party,
                     whether in tangible or intangible form, in connection with this Agreement that
                     would reasonably be deemed confidential in light of the nature of the
                     information or the circumstances of its disclosure. "Confidential Information"
                     includes the terms and conditions of this Agreement.

                 d. "Fees" has the definition set forth in Section 3.

                 e. "Mined Bitcoins" means Bitcoins mined by CoinLab for Customer pursuant to
                     the terms and conditions of this Agreement.

                 f. "Services" means the services that CoinLab provides to Customer under this
                      Agreement as further described in Section 2.

                 g. "Term" means 1 years unless the Agreement earlier terminated pursuant to the
                      terms and conditions herein.

                 h. "Wind Down Period" means the period of time extending 12 months after the
                     Term of the Agreement

         2. Services. CoinLab will make commercially reasonable efforts to mine 5000
             Bitcoins on Customer's behalf during the Term. CoinLab will promptly deliver to
             Customer the Bitcoins ordered as they are mined by CoinLab on the condition that
             Customer acknowledges and agrees that no delivery of Mined Bitcoins is expected to
             occur before July 1,2013. After July 1,2013, CoinLab will deliver to Customer a monthly
             account of Mined Bitcoins compared with Bitcoins ordered. CoinLab will deliver to




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           Customer Mined Bitcoins via the CoinLab Storage. Customer may retain Mined Bitcoins
           in the CoinLab Storage through the Wind Down Period.

        3. Fees. In exchange for performing the Services, Customer will pay CoinLab a total of
            $ 7.359 USD per Bitcoin, for a total of $ 36795 USD ("Fees"). Customer will pay
            CoinLab the Fees within 10 days of the effective date. Each party will bear its own taxes
            as levied under applicable law.

        4. Termination. Either party may suspend its performance or terminate this Agreement:

                a. If the other party materially breaches this Agreement (other than the
                    confidentiality obligations in Section 6) and fails to cure that breach within 30
                    days after receiving notice;

                b. Immediately upon notice if the other party materially breaches the
                    confidentiality obligations in Section 6;

                c. Immediately upon notice if the other party is Insolvent. "Insolvent' means: (i)
                    becoming insolvent; (ii) admitting in writing the inability to pay debts as they
                    mature; making a general assignment for the benefit of creditors; (iii) suffering
                    or permitting the appointment of a trustee or receiver for all or any assets
                    (unless such appointment is vacated or dismissed within 60 days after
                    appointment); (iv) filing (or having filed) any petition as a debtor under any
                    provision of the federal Bankruptcy Code or any state law relating to insolvency,
                    unless such petition and all related proceedings are dismissed within 60 days of
                    such filing; being adjudicated insolvent or bankrupt; (v) having wound up or
                    liquidated; or (vi) ceasing to carry on business.

                d. Immediately upon notice in the event that performing the Services becomes
                    impracticable or impossible including, without limitation, in the event that
                    applicable laws or regulations have changed in a way that materially affects the
                    provision of Services under this Agreement in either party's reasonable
                    discretion.

        5. Effects of Termination or Expiration. Upon expiration or termination of the Agreement,
            sections that were, by their nature, intended to survive will so survive. Customer will
            collect all of its Mined Bitcoins from the CoinLab storage by the end of the Wind Down
            period; if it fails to do so, all rights in and to such Mined Bitcoins will and does revert to
            CoinLab. In the event that the Agreement expires or terminates before all Mined
            Bitcoins ordered by Customer have been delivered to Customer, CoinLab will refund to
            Customer US Dollars by the following formula:
                     USD Fee Paid - (Bitcoins Delivered / Bitcoins Ordered) * (USD Fee Paid)


        6. Confidentiality. Neither party will use the other's Confidential Information except as
            reasonably required for the performance of this Agreement. Each party will hold in
            confidence the other's Confidential Information by means that are no less restrictive
            than those used for its own similar confidential materials and in no case less than




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            reasonable care. Each party agrees not to disclose the other party's Confidential
            information to anyone other than its employees or subcontractors who are bound by
            confidentiality obligations and who need to know the same to perform such party's
            obligations hereunder or who need to know the same for purposes of internal business
            administration such as the provision of legal or accounting services.

        7. Warranties. CoinLab warrants that the Services will be performed consistently with
            industry standards for Bitcoin mining or manufacture. Customer warrants that it will not
            exchange Bitcoins for any illegal material, illegal services, or contraband under any
            applicable laws. Customer also warrants that it will be responsible for all necessary
            government approvals and taxes with regard to the exchange of Bitcoins. Customer will
            indemnify, defend, and hold harmless CoinLab from any allegation, claim, or litigation
            proceeding (including all associated costs and attorneys' fees) arising from Customer's
            breach of this Section, and this indemnity obligation will survive termination or
            expiration of the Agreement.

        8. Disclaimer of Warranties. EXCEPT AS EXPRESSLY STATED IN THIS AGREEMENT, COINLAB
            DISCLAIMS ALL WARRANTIES, EXPRESS AND IMPLIED, INCLUDING, WITHOUT
            LIMITATION, IMPLIED WARRANTIES OF MERCHANTIB1LITY AND FITNESS FOR A
            PARTICULAR PURPOSE. CUSTOMER UNDERSTANDS AND AGREES THAT THE SERVICES
            AND BITCOINS ARE THE RESULT OF RELATIVELY NEW TECHNOLOGIES AND MARKET
            EXCHANGES AND MAY BE SUBJECT TO FUTURE LAWS, REGULATIONS, CHANGES IN
            TECHNOLOGY, AND OTHER FORCES, NOT WITHIN COINLAB'S CONTROL, AND THAT ANY
            SUCH CHANGES COULD RENDER THIS AGREEMENT IMPRACTICABLE OR IMPOSSIBLE TO
            PERFORM. COINLAB MAKES NO WARRANTIES REGARDING THE MONETARY VALUE OR
            FUTURE EXCHANGE RATES OF BITCOINS. COINLAB MAKES NO WARRANTIES
            REGARDING THE ABILITY OF PEER-TO-PEER NETWORKS OR OTHER TECHNOLOGIES TO
            ISSUE BITCOINS OR TO REGULATE, OR OTHERWISE MANAGE THE BITCOIN MARKET.
            EXCEPT AS EXPRESSLY STATED IN THIS AGREEMENT ALL ASSOCIATED RISKS RESIDE WITH
            CUSTOMER.

        9. Limitation of Liabilities. TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT
             WILL EITHER PARTY BE LIABLE FOR ANY INDIRECT, INCIDENTAL, CONSEQUENTIAL,
            PUNITIVE, SPECIAL, OR EXEMPLARY DAMAGES ARISING OUT OF OR THAT RELATE IN ANY
            WAY TO THIS AGREEMENT OR ITS PERFORMANCE. THIS EXCLUSION WILL APPLY
            REGARDLESS OF THE LEGAL THEORY UPON WHICH ANY CLAIM FOR SUCH DAMAGES IS
            BASED, WHETHER THE PARTIES HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH
            DAMAGES, WHETHER SUCH DAMAGES WERE REASONABLY FORESEEABLE, OR WHETHER
            APPLICATION OF THE EXCLUSION CAUSES ANY REMEDY TO FAIL OF ITS ESSENTIAL
            PURPOSE. THE PARTIES WILL NOT BE LIABLE FOR ANY DIRECT DAMAGES THAT EXCEED
            THE AMOUNT OF FEES PAID UNDER THIS AGREEMENT. THIS SECTION WILL NOT APPLY
            TO ANY INDEMNITY OBLIGATIONS UNDER THIS AGREEMENT.

         10. Miscellaneous.

                a. Assignment. This Agreement may not be assigned by either party without the
                    prior written approval of the other party. Notwithstanding the foregoing,
                    CoinLab may assign this Agreement to: (i) a parent or subsidiary; (ii) an acquirer




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                     of ail or substantially all of CoinLab assets (or all or substantially all of the
                     CoinLab assets relating to this Agreement); or (Hi) a successor by merger or
                     other combination. Any purported assignment in violation of this Section will be
                     void.

                 b. Governing Law. This Agreement will be governed and interpreted in
                     accordance with Seychelles law. Any dispute relating to the terms,
                     interpretation, or performance of this Agreement or the dealing of the parties
                     under this Agreement will be resolved at the request of either party through
                     binding arbitration. Arbitration will be conducted in the city of Seattle
                     Washington under the rules and procedures of the American Arbitration
                     Association ("AAA").

                 c. Force Majeure. Neither party will be deemed in default of this Agreement to
                     the extent that performance of its obligations or attempts to cure any breach
                     are delayed or prevented by reason of any act of God, fire, natural disaster,
                     accident, act of government, shortages of materials or supplies, internet
                     outages or other cause beyond the control of such party ("Force Majeure")
                     provided that such party makes commercially reasonable efforts to promptly
                     notify the other. In the event of such Force Majeure, the time for performance
                     or cure will be extended for a period equal to the duration of the Force
                      Majeure.

                 d. Relationship of parties. The parties are independent contractors and have no
                     authority to act on behalf of or bind the other. This Agreement does not create
                     an employment, agency, or partnership relationship or grant a franchise.

                 e. Entire Agreement. This Agreement states the entire agreement between the
                     parties on the subject and supersedes all prior negotiations, understandings,
                     and agreements between the parties concerning the subject matter. No
                     amendment or modification of this Agreement will be made except by a writing
                     signed by both parties.

                  f. Counterparts. This Agreement may be executed in two or more counterparts,
                      each of which will be deemed an original and all of which together will
                      constitute one instrument.

      So agreed by the parties:




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